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       EXHIBIT D
  CV1a1
Case:       CV1a2 CV2a1
      4:20-cv-00706-SNLJ Doc.CV2a2
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                Expect
         something special,
         like these gourmet
          chocolate-dipped
            strawberries.
                  PAGE 30




                                 INSTANT
         SAVINGS
         More than $6,500 in Instant Savings* inside

     1
                                 JAN. 29 – FEB. 23, 2020



    FY21FebISBCOVER.indd 1                                         05/12/2019 10:34
                    SAM’S CLUB                  ISB FEB
                                                6X9.375   44
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F E B R UA R Y 2 0 2 0
                                                                                       INSTANT SAVINGS                                                                                          *


                                                                                                             T H E P R O D U C T S Y O U ’ L L S A V E B I G O N , R I G H T N O W.
WHAT’S INSIDE
Sweet treats, game-day
snacks and stunning
jewels. (Plus huge
savings—but you
already knew that.)
3 INSTANT SAVINGS
The products you’ll save big on,
right now.

20 THE NOW LIST
Current obsessions and
must-try ideas.

26 VALENTINE’S DAY
CENTRAL
Steak and lobster worthy of
date night, sparkling jewelry
and plenty of sugar (of course).



                                                                                       Choc
34 GET YOUR
GAME DAY ON

                                                                                       around
Over-the-top snacks and            31
the very best in tech.             Ultra-festive
                                   frosted
                                   cupcakes.
                                                                                       the clock.
                                                                                       Stash individually wrapped
                                                                                       treats from Lindt and
    23                                                                                 Ghirardelli anywhere you
    Your pet’s                                                                         want a pick-me-up. (So,
    new favorite                                                                       basically, everywhere.)
    crash pad.
                                                                                       $   2 OFF
                                                                                       Limit of 10
                                                                                       Free Shipping for Plus††


                                                              28
                                                              All things bling
                                                              with diamond
                                                              pendants, studs
                                                              and more.




                                                                                       $   2 OFF
                                                                                       Limit of 10
                                                                                                                                                   $   2 OFF
                                                                                                                                                   Limit of 10
                                                                                       Free Shipping for Plus††                                    Free Shipping for Plus††
                                                                       Skip the
                                                                    checkout line at   Assorted Lindt Truffles                                     Any Blueberry
                                                                     your club with    19 oz., Lindt Strawberries                                  and/or Cinnamon
                                                                      Scan & Go!       and Cream 19 oz. and/or                                     Brown Sugar BelVita
                                                                                       assorted Ghirardelli                                        20 ct. or 25 ct.
    36                                                               Download it at    Squares 18.1 oz.
    Snacks to get your                                              SamsClub.com/
    game-day party poppin’.                                           scanandgo.


2   Find more at SamsClub.com                                                                                                 Valid January 29—February 23                      February 2020   3
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$   2 OFF
Limit of 10


                                                                             Chocolate,
Free Shipping for Plus††

Oreo Cookies 52.5 oz.,
Honey Maid Graham
Crackers 4 pk. 14.4 oz.
each, Nabisco Variety
                                                                             meet salt.
                                                                             A sprinkle of sea salt amps up the flavor of Member’s Mark™
Pack 30 ct., Grandma’s®
                                                                             chocolate-covered caramels and dark chocolate thins.
Cookies Variety Pack
                                                                             Meaning it’ll be that much harder to stop at just one.
36 ct. and/or Vanilla
Creme Cookies 24 ct.
                                                                             $   1 OFF
                                                                             Limit of 10
                                                                                                   Member’s Mark™ Sea Salt Caramels
                                                                                                   and Chocolate Thins and/or
                                                                                                   Popcorn Indiana® Black and
                                                                             Free Shipping
                                                                             for Plus††            White Drizzlecorn

$   5 OFF
Limit of 5
                                     $   2 OFF
                                     Limit of 10
Free Shipping for Plus††             Free Shipping††

Splenda® Packets                     Frosted Flakes
1200 ct.                             55 oz. and/or
                                     Frosted Mini
                                     Wheats 55 oz.




    1
$ 25 OFF
No limit
                                     $   6 OFF
                                     Limit of 5
While supplies last                  Free Shipping for Plus††
In Club Only
                                     Any Mc Café
Silk® Almond Milk or                 K-Cup Pods
International Delight                100 ct.
French Vanilla &
Caramel Macchiato




$   7 OFF
Limit of 5
                                     $   4 OFF
                                      Limit of 5
                                                                             $   1 OFF
                                                                             Limit of 5
                                                                                                                                           $   4 OFF
                                                                                                                                           Limit of 72
Free Shipping for Plus††              Free Shipping for Plus††               Free Shipping for Plus††                                      Free Shipping for Plus††
                                                                             (Hint Water only)
Any Starbucks®                       Any Starbucks®                                                                                        Any BodyArmor
                                                                             Hint® Water and/or Waterloo Sparkling Water
K-Cup Pods 72 ct.                    Whole Bean or                                                                                         Sports Drink
                                     Ground
                                     40 oz.




    1
$ 50 OFF
Limit of 3
                                         1
                                     $ 50 OFF
                                     Limit of 5
                                                                             $   2 OFF
                                                                             No limit
                                                                                                                                           $   2 OFF
                                                                                                                                           No limit
Free Shipping††                      Free Shipping for Plus††                While supplies last                                           While supplies last
                                                                             In Club Only                                                  In Club Only
Nature Nate’s Raw &                  Act II® Popcorn and/or
                                                                             Eggo® Waffles,                                                Oikos Triple Zero
Unfiltered Honey                     Duke’s® Shorty® Sausages
44 oz.                                                                       Pancakes and/or                                               Greek Yogurt and/or
                                                                             Mini Pancakes                                                 Danimals Smoothies
                                                                                                                                           18 ct. Oikos Triple Zero,
                                                                                                                                           36 ct. Danimals Drinks,
                                                                                                                                           24 ct. Activia. Selection
                                                                                                                                           varies by club.



4    Find more at SamsClub.com                                                                                         Valid January 29—February 23                    February 2020   5
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$   3 OFF
No limit
                                     $   3 OFF
                                     No limit
                                                                             $   9 OFF
                                                                             Limit of 6
                                                                                                                                    $   3 OFF
                                                                                                                                    Limit of 12
While supplies last                  While supplies last                     Free Shipping for Plus††                               Free Shipping for Plus††
In Club Only                         In Club Only
                                                                             Blue Buffalo                                           Meow Mix®,
Tyson® Homestyle                     Jack Daniel’s®                          Dog Food                                               Beggin’® Strips,
Boneless Chicken                     Pulled Pork                             and/or Cosequin®                                       Temptations
Bites                                                                                                                               and/or any
                                                                                                                                    Purina® Dog
                                                                                                                                    Chow® or
                                                                                                                                    Puppy Chow®




    1
$ 50 OFF
No limit
                                                                             $   2 OFF
                                                                             Limit of 3
                                                                                                                                    $   2 OFF
                                                                                                                                    Limit of 3
While supplies last                                                          Free Shipping for Plus††                               Free Shipping for Plus††
In Club Only
                                                                             Olay® Bar Soap; Caress®, Old Spice                     Any Crest Paste,
Jimmy Dean® Meat                                                             or Member’s Mark™ Bodywash;                            Crest Rinse, Oral-B®
Lovers Breakfast Bowl                                                        and/or any Dial® Hand Soap                             Floss and/or Oral-B®
and/or Pancakes &                                                                                                                   Manual Toothbrush
Sausage on a Stick




$   2 OFF
No limit
                                     $   2 OFF
                                     No limit
                                                                             $   2 OFF
                                                                             Limit of 3
                                                                                                                                    $   4 OFF
                                                                                                                                    Limit of 3
While supplies last                  While supplies last                     Free Shipping for Plus††                               Free Shipping for Plus††
In Club Only                         In Club Only
                                                                             Jergens®, Olay® Complete, and/or NatureWell®           Any Gillette® or
Any Hot Pockets®                     Birds Eye®                              Coconut Oil Cream or Retinol Cream                     Venus® Cartridge or
Sandwiches                           Garlic Chicken                          Selection varies by club.                              System Pack




$   1 OFF
No limit
                                         1
                                     $ 50 OFF
                                     Limit of 100
                                                                             $   5 OFF
                                                                             Limit of 4
                                                                                                                                    $   2 OFF
                                                                                                                                    Limit of 4
While supplies last                  In Club Only                            Free Shipping for Plus††                               Free Shipping for Plus††
In Club Only
                                                                             Any Nexxus® or                                         Any Dove or
Member’s Mark™ Five                  Kraft Singles                           Shea Moisture                                          TRESemmé®
Cheese Macaroni                      72 ct.                                  Shampoo/                                               Shampoo and/or
and/or Don Miguel                                                            Conditioner and/                                       Conditioner
Mini Tacos                                                                   or Neutrogena®
                                                                             Rainbath




$   350 OFF
No limit
                                     $   2 OFF
                                     No limit
                                                                             $   2 OFF
                                                                             Limit of 3
                                                                                                                                    $   30 OFF
                                                                                                                                    Limit of 3
While supplies last                  While supplies last                     Free Shipping for Plus††                               Free Shipping for Plus††
In Club Only                         In Club Only
                                                                             Any Secret®, Old                                       Norelco or Braun
Any Member’s Mark™                   Gardein™ Black Bean Burger              Spice, Gillette® or                                    Power Shaver,
and/or Pierre Frozen                                                         Dove Deodorant                                         Oral-B 6000 and/
Sandwich                                                                                                                            or Sonicare 6100




6    Find more at SamsClub.com                                                                                     Valid January 29—February 23                February 2020   7
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$   3 OFF
Limit of 3
                                                                             $   2 OFF
                                                                             Limit of 2
                                                                                                                                                  $   3 OFF
                                                                                                                                                  Limit of 4                                      One pack,
Free Shipping for Plus††                                                     Free Shipping for Plus††                                             Free Shipping for Plus††

Any Charmin® Ultra Soft, Bounty®                                             Member’s Mark™                                                       Any Hefty® Foam                                 a whole lotta bottles.
Full Sheet and/or Puffs Plus                                                 Unscented Kitchen                                                    Plates and/or Bowls,
                                                                                                                                                                                                  Value-sized Member’s Mark™ Advantage formula contains
                                                                             Trash Bags and/or                                                    and/or 33-gal. Ultra
                                                                                                                                                                                                  HMO and No Artificial Growth Hormones to provide
                                                                             T-Shirt Carry-Out Bags                                               Strong Trash Bags
                                                                                                                                                                                                  complete nutrition for infants 0-12 months. Plus, it costs
                                                                                                                                                                                                  way less than the competition.


                                                                                                                                                                                                  $   3 OFF
                                                                                                                                                                                                  Limit of 3




$   3 OFF
Limit of 2
                                                                             $   2 OFF
                                                                              Limit of 2
                                                                                                                                                  $   2 OFF
                                                                                                                                                  Limit of 2
Free Shipping for Plus††                                                      Free Shipping for Plus††
                                                                                                                                                  Chinet® Comfort
Tide® PODS® Spring                                                           Any Member’s Mark™ Detergent                                         Cup® and/or Dixie®
Meadow 168 ct.                                                                                                                                    12-oz. and/or 16-oz.
and/or Tide PODS                                                                                                                                  To Go Cups, and/or
Oxi 104 ct.                                                                                                                                       12-20-oz. To Go Lids




$   3 OFF
Limit of 2
                                                                             $   2 OFF
                                                                             Limit of 2
                                                                                                                                                  $   350 OFF
                                                                                                                                                  Limit of 4
                                                                                                                                                                                                  $   3 OFF
                                                                                                                                                                                                  Limit of 3
Free Shipping for Plus††                                                     Free Shipping for Plus††                                             Free Shipping for Plus††                        Free Shipping for Plus††

Gain® Liquid                                                                 Any Snuggle®                                                         Any Oxiclean™                                   Member’s Mark™ Formula,
and/or Powder                                                                and/or Shout                                                                                                         Similac® HMO Formula
                                                                                                                                                                                                  and/or Gerber Baby Food




Cash back when you fuel up.                                                                                                                       $   1 OFF
                                                                                                                                                  Limit of 2
                                                                                                                                                  Free Shipping for Plus††
                                                                                                                                                                                                  $   5 OFF
                                                                                                                                                                                                  Limit of 3
                                                                                                                                                                                                  Free Shipping††


                     Get 5% cash back                                                                                                             Any Member’s Mark™ Auto Dish                    Any Pampers®
                                                                                                                                                  and/or Liquid Dish Soap                         Swaddlers and/or
                                                                                                                                                                                                  Cruisers Diapers
                     on gas anywhere your Sam’s Club
                     Mastercard® is accepted. 1
                     On first $6,000 per year, then 1% thereafter.



Don’t have a Sam’s Club credit card?
Save $45
when you open a                                                                                                                                   $   250 OFF                                     $   4 OFF
Sam’s Club Credit                       LEE M CARDHOLDER
                                        6045 0000 0000 0000
                                        CLUB MEMBER SINCE   VALID THRU
                                                                                                                                                  Limit of 5
                                                                                                                                                  Free Shipping for Plus††
                                                                                                                                                                                                  Limit of 4
                                                                                                                                                                                                  Free Shipping††
Card account and
                                        2001                07/22




                                                                                                                                                  Lysol® Disinfectant                             Any Huggies®
make a $45 purchase in club today.1                                                                                                               Spray and/or Toilet                             Diapers, Wipes,
Offer valid 1/29/20–2/23/20. Visit the                                                                                                            Bowl Cleaner                                    Pull-Ups and/or
Member Services Desk for more info and to apply.                                                                                                                                                  Goodnites




1Subject to credit approval. When you apply, you could be approved for either a Sam’s Club Credit Card or a Sam’s Club Mastercard.

$45 account opening offer: Excludes cash advances, gift cards, pharmacy prescription items, alcohol and tobacco purchases. Valid for newly
opened accounts only. One $45 offer per account. Not valid online. 5% cash back on gas: Rewards are issued starting each February for the cash
back earned the previous calendar year and may only be redeemed in a Sam’s Club or at SamsClub.com. See the “How to Earn Cash Back with Your                                     Valid January 29—February 23                          February 2020           9
Sam’s Club Mastercard Reward Program” terms for more details, circumstances under which rewards may be forfeited, limitations and restrictions.
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                                                                                  $   4 OFF
                                                                                  Limit of 8
                                                                                                                                                                                            WOMEN’S
                                                                                                                                                                                            HEALTH


                                                                                  Free Shipping for Plus††

                                                                                  Any Citracal® Max, Super Collagen
                                                                                  C, NatureMade® Magnesium, GNC®


Fits like                                                                         Women’s Energy, Culturelle®, Estroven®
                                                                                  Max, Member’s Mark™ Biotin +
                                                                                  Keratin, NatureMade Prenatal and/or


a Hugg.
                                                                                  SmartyPants® Multivitamin^




Nail this parenting gig
with Huggies® diapers
and wipes that keep your                                                          $   6 OFF                                         $   4 OFF
little one dry, protected                                                         Limit of 4
                                                                                  Free Shipping for Plus††
                                                                                                                                    Limit of 5
                                                                                                                                    Free Shipping for Plus††
and comfortable.                                                                  Any Metamucil®, Qunol®                            Any Think!® Protein Bars, Pure Protein®,
Stock up and save $4!                                                             and/or Omron 7 Series                             Lenny and Larry’s Cookies, Muscle Milk®
                                                                                  Blood Pressure Monitor^                           and/or Ready Nutrition Protein Water
Limit 4. Ends Feb. 23.




                                                                                  $   3 OFF
                                                                                  Limit of 6
                                                                                  Free Shipping for Plus††

                                                                                  Any Aleve®, Excedrin®,
                                                                                  Breathe Right® Nasal
                                                                                  Strips, Member’s Mark™
                                                                                  Acetaminophen and/or
                                                                                  Preparation H® Wipes^
                                                                        © KCWW




$   3 OFF
Limit of 4
                                          $   11 OFF
                                          Limit of 2
                                                                                  $   4 OFF
                                                                                  Limit of 4
                                                                                                                           JOINT
                                                                                                                           HEALTH

Free Shipping for Plus††                  Free Shipping for Plus††                Free Shipping for Plus††

Member’s Mark™ Double Strength
Fish Oil, Triple Strength Fish Oil,
                                          Any Align® and/or Flonase®^             Member’s Mark™ Triple
                                                                                  Strength Glucosamine                              Softer                                 $   1 OFF
                                                                                                                                    tissues,
Omega 3-6-9, Krill Oil, Extra                                                     Chondroitin, Glucosamine                                                                 No limit
Strength Krill Oil, Flaxseed Oil,                                                                                                                                          While supplies last
                                                                                  + MSM + HA, Glucosamine
                                                                                                                                                                           Free Shipping for Plus††

                                                                                                                                    by a nose.
Co-Q10 200mg, NatureMade                                                          Chondroitin and/or Ultra
Double Strength Fish Oil,                                                         Triple Action Joint Health^                                                              Any Member’s MarkTM
Wild Alaskan Salmon Oil,                                                                                                                                                   Facial Tissue
Bayer® Aspirin 325mg and/or                                                                                                         These ultra-soft Member’s Mark™
Bayer Low Dose Aspirin^                                                                                                             tissues help you stay one step ahead
                                                                                                                                    of the next sneeze.

                                          $   6 OFF
                                          Limit of 4
                                                                                  $   2 OFF
                                                                                  Limit of 5
                                          Free Shipping for Plus††                Free Shipping for Plus††

                                          Mucinex Max DM,                         Member’s Mark™
                                          Mucinex Max SE,                         Men’s/Women’s
                                          Mucinex Expectorant                     Multivitamin, B-12,
                                          and/or Mucinex Fast                     Vitamin C, Vitamin
                                          Max Day/Night^                          D-3 and/or Melatonin
                                                                                  10mg^




10    Find more at SamsClub.com                                                                                                                                        February 2020             11
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$   40 OFF                      Regular Price
                                Instant Savings
                                                  $   22998
                                                      $4000
                                                                  $   30 OFF                 Regular Price
                                                                                             Instant Savings
                                                                                                               $   15998
                                                                                                                   $3000
                                                                                                                                                                                                                  Travel
No limit                                                          No limit
While supplies last                      Now      18998
                                                  $
                                                                  While supplies last                 Now      12998
                                                                                                               $

Free Shipping for Plus††                                          Free Shipping for Plus††

Thomson 7.5-cu.-ft.                                               Emeril Lagasse Power
Upright Refrigerator                                              AirFryer 360™ and/or
and/or 6.5-cu.-ft.                                                Pressure AirFryer
Upright Freezer




$   4 OFF
No limit
                                Regular Price
                                Instant Savings
                                                          1998
                                                          $

                                                          $400
                                                                  $   40 OFF
                                                                  No limit
                                                                                             Regular Price
                                                                                             Instant Savings
                                                                                                               $   22998
                                                                                                                   $4000


While supplies last                      Now          $   1598    While supplies last                 Now      18998
                                                                                                               $
Free Shipping††                                                   Free Shipping for Plus††

Dabney Lee®                                                       Shark® Rocket® Pro
Insulated Lunch Tote                                              Cordless Vacuum
Includes container set
and ice block. Available
in various patterns.




$   15 OFF
Limit of 5
                                Regular Price
                                Instant Savings
                                                      $   7798
                                                          1500
                                                          $
                                                                  $   20 OFF
                                                                  Limit of 5
                                                                                             Regular Price
                                                                                             Instant Savings
                                                                                                                   $

                                                                                                                   $
                                                                                                                       7998
                                                                                                                       2000
Free Shipping††                          Now          6298
                                                      $
                                                                  Free Shipping††                     Now          5998
                                                                                                                   $


Rotella® T4 15w40                                                 Stanley® Fatmax®                                                                                                                                      40% OFF


                                                                                                                              Miami.
6 pk. 1-gal. bottles                                              1000A Jump Starter                                                                                                                                  Kimpton EPIC Hotel
Diesel Oil                                                        With 120 PSI air
#236574                                                           compressor.                                                                                                                                            Downtown Miami
                                                                  #726720                                                                                                                                           Starting at $279 per night5




20% OFF
No limit
While supplies last
Free Shipping††

All 14 Karat Gold
                                                                  $   350 OFF
                                                                  No limit
                                                                  While supplies last
                                                                  Free Shipping for Plus††

                                                                   Bicycle 12 ct.
                                                                                                                              Nice.
                                                                                                                              Soak up the sun, plus some                                                                19% OFF
Polished Hoops
Assortment varies by club. Select
                                                                   Standard or Bicycle
                                                                   12 ct. Jumbo                                               serious savings and exclusive                                                        Kimpton Surfcomber Hotel
                                                                                                                                                                                                                          Miami Beach
14 Karat Gold Polished Hoops
available at SamsClub.com.                                                                                                    offers from Sam’s Club Travel.                                                       Starting at $376 per night5
Excludes sets.§




$   2 OFF
No limit
                                                                  $   1 OFF
                                                                  Limit of 2
While supplies last                                               In Club Only
In Club Only

                                                                                                                                                                                                                        41% OFF
                                                                  Morton® Clean and
All Under                                                         Protect® Water
Armour® Socks                                                     Softening Salt                                              Book now at SamsClub.com/travel
                                                                                                                                                                                                                        Kimpton Angler’s
                                                                  44-lb. bag.                                                 5Hotel-only prices are per room and all taxes and fees are disclosed. Resort fees
                                                                                                                                                                                                                       South Beach Hotel
                                                                                                                              may be charged at given hotels. Promotion is subject to availability and blackout
                                                                                                                              dates may apply. Hotel cancellation policies vary by hotel and will be disclosed             Miami Beach
                                                                                                                              during the booking process. Any savings displayed generally represent the             Starting at $312 per night5
                                                                                                                              difference between our price and the retail price provided by the supplier.
                                                                                                                              For more information, see SamsClub.com/traveldisclaimer.

12    Find more at SamsClub.com
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$   100 OFF
No limit




                                                                                                                               Expert home services,
While supplies last
Free Shipping with online orders††

Serta® Ashbrook and/or
Serta Sleep To Go Mattress



                                                                                                                                 exclusive savings.
in a Box in Full, Queen,
King and
Cal King sizes



                                                                                                                                                We offer a full range of home improvement and
                                                                                                                                       installation services—from flooring and windows to siding and
$   5 OFF                                                          $   50 OFF                 Regular Price         399
                                                                                                                                               HVAC powered by Centah. Available online only.
                                                                                                                    $

                                                                                              Instant Savings       $50

No limit                                                           No limit
                                                                                                        Now         349
                                                                                                                                               Learn more at home.centah.com/samsclub
                                                                                                                $
While supplies last                                                While supplies last
Free Shipping for Plus††                                           Free Shipping††

London Fog 6-piece Sheet                                           Myles Power
                                                                                                                                                   or give us a call at (844) 261-6841.
Set and/or Comforter in                                            Theater Chair
Queen and King sizes                                               Features durable
                                                                   performance fabric and
                                                                   power headrest and
                                                                   recline. Stay connected
                                                                   with USB/AC outlets.
                                                                   Two stainless steel cup
                                                                   holders.



                                                                       4 OFF
                                                                                              Regular Price     $   2198
                                                                   $                          Instant Savings       $400

                                                                   Limit of 5                          Now      $   1798
                                                                   Free Shipping††

                                                                   Member’s Mark™
                                                                   Aluminum Dish Rack




$   200 OFF                          Regular Price           699   $   250 OFF                Regular Price              998
                                                         $                                                              $

                                     Instant Savings     $   200                              Instant Savings           $250
No limit                                                           No limit
While supplies last                           Now       $499       While supplies last                  Now             7
                                                                                                                        $ 48

                                                                   Free Shipping for Plus††
Member’s Mark Standage Reclining Sofa
                      ™

Dual reclining sofa in premium top-grain leather featuring         Member’s Mark™
nailhead trim, pocket coil cushions and USB port. Leggett          Quick Dry Bath Mat
                                                                   24" x 36"
                                                                                                                                                                  Get 10% back on a Sam’s Club
& Platt© mechanisms offers smooth, reliable reclining.


                                                                                                                                                                  Gift Card with every purchase.²
                                                                                                                               2Disclaimer: All products and services are offered, supplied and performed by Centah Inc.
                                                                                                                               (“Centah”) and its third-party authorized dealers (“Dealers”). Centah and its Dealers are not
                                                                   $   10 OFF
                                                                   No limit
                                                                                              Regular Price
                                                                                              Instant Savings
                                                                                                                $   5998
                                                                                                                    1000
                                                                                                                    $
                                                                                                                               affiliates of or endorsed by Sam’s Club. Centah and its Dealers are solely responsible for the
                                                                                                                               products and services advertised. Sam’s Club has no obligation to perform any responsibilities
                                                                   While supplies last                  Now     4998
                                                                                                                $
                                                                   Free Shipping††                                             of Centah or its Dealers, and Sam’s Club does not guarantee the performance of Centah’s and its
                                                                                                                               Dealers’ obligations. * Centah Inc. (“Centah”) will send the Sam’s Club member an electronic
                                                                   Tramontina 13-gal.
                                                                   Stainless Steel                                             Sam’s Club gift card (“Sam’s Club Gift Card”) pre-loaded with a value equal to ten percent (10%)
                                                                   Waste Container                                             of the Net Amount of the invoice for the Home Improvement Services purchased (the “Invoice”)
                                                                   Additional colors                                           within thirty (30) calendar days of Centah receipt of payment for that Invoice. “Net Amount”
                                                                   available on
                                                                   SamsClub.com.                                               means the gross amount of the Home Improvement Services purchased by the Sam’s Club
                                                                   #202630                                                     member as reflected on the Invoice, less applicable taxes and fees, any or all refund(s) or returns,
                                                                                                                               and chargebacks. Sam’s members that provide a valid email address will receive their Sam’s Club
                                                                                                                               Gift Card electronically. Sam’s Club Gift Cards are non-returnable and not available for resale.
14    Find more at SamsClub.com                                                                                                Centah is solely responsible for the administration and fulfillment of the gift card promotion.
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     Upgrade and save.                                                                                                                   $   250 OFF
                                                                                                                                         Limit of 2
                                                                                                                                         Free Shipping for Plus††
                                                                                                                                                                                                                                                Regular Price
                                                                                                                                                                                                                                                Instant Savings
                                                                                                                                                                                                                                                          Now
                                                                                                                                                                                                                                                                       1,149
                                                                                                                                                                                                                                                                       $

                                                                                                                                                                                                                                                                       $250

                                                                                                                                                                                                                                                                       $   899
                                                                                                                                         HP® ENVY Desktop
                                  Get a $150 Sam’s Club gift card                                 3
                                                                                                                                         Bundle with 31.5"

                                  with purchase and activation on                                                                        Monitor and Intel®
                                                                                                                                         Core™ i7 Processor
                                   installment of select phones.                                                                         #980183114


                                                                                                                                                                     TOTAL    OPTANE                     HD      2 YR
                                                                                                                                                                                         RAM
                                                                                                                                                                    MEMORY    MEMORY                     2TB   Care Pack
                                                                                                                                                                                         12GB
                                                                                                                                                                     28GB      16GB




                                                                                                                                         $   300 OFF                         Regular Price              999      $   3 OFF
                                                                                                                                                                                                     $

                                                                                                                                                                             Instant Savings         $  300
                                                                                                                                         Limit of 2                                                              Limit of 4
                                                                                                                                         Free Shipping for Plus††                      Now          $699         While supplies last
                                                                                                                                                                                                                 Free Shipping for Plus††
                                                                                                                                         HP® 17.3" HD Touchscreen
                                                                                                                                         Laptop with Intel®                                                      Duracell Coppertop
                                                                                                                                         Core™ i7 Processor                                                      AA and AAA and/
                                                                                                                                         512GB Solid State Drive                                                 or Optimum AA and
3One eGift card per activation when purchased on installment agreement. eGift card will be sent 15 to 22 days from date of
                                                                                                                                         for faster load times                                                   AAA Batteries
activation and purchase. eGift card will be sent to the member’s email address provided at the time of activation and may not be
                                                                                                                                         and more reliability.                                                   Excludes resale packs.
used to pay for membership fees or select services. Subject to all terms of Sam’s Club Mobile Secondary Retail Agreement. This
offer may not be combined with any other offer promotion. Limited time availability. Offers subject to change. Carriers, coverage,       #980183047                                                              #279441, #558886,
and products may vary by location. Devices may require select plan and data subscriptions, credit approval, activation fee and                                                                                   #558893,
                                                                                                                                                                             RAM        SSD       2 YR           #980200696,
termination fees. Upgrade eligibility may vary. See club for details. Carrier restrictions prohibit Sam’s Club from servicing Business                                       8GB       512GB    Care Pack
Accounts. This offer is not valid online.                                                                                                                                                                        #980200697


$   80 OFF                                                             $   50 OFF                                                        $   30 OFF                          Regular Price          21998        $   50 OFF
                                                                                                                                                                                                 $

                                                                                                                                                                             Instant Savings        $3000

Limit of 5                                                             Limit of 5                                                        Limit of 5                                                              Limit of 5
Free Shipping for Plus††4                                              Free Shipping for Plus††                                          Free Shipping for Plus††                      Now      $18998           Free Shipping for Plus††

LG 65" Class                                                           Samsung 6-Series                                                  Samsung Tab A 10.1" 32GB Tablet                                         Wisenet 4-Camera,
7300-Series 4K UHD                                                     58" 4K UHD HDR                                                    The lightweight premium metal design                                    4-Channel 1080p
HDR Smart TV**                                                         Smart TV**                                                        goes anywhere you go. #980196334                                        Wi-Fi Security
Model: 65UM7300AUE                                                     Model:                                                            Also available in silver online. #980195360                             Surveillance System
#980202755                                                             UN58MU6070EXZA                                                                                                                            #980208366
                                                                       #980061890


                                            UHD                                                                  UHD
                                   65"                HDR                                              58"                HDR
                                             4K                                                                   4K



$   40 OFF                                                             $   40 OFF                                                                                                                                $   10 OFF                     Regular Price              5398
                                                                                                                                                                                                                                                                           $

                                                                                                                                                                                                                                                Instant Savings            1000
                                                                                                                                                                                                                                                                           $

Limit of 5                                                             Limit of 5                                                                                                                                No Limit
Free Shipping for Plus††                                               Free Shipping for Plus††                                                                                                                  While supplies last                      Now          $   4398
                                                                                                                                                                                                                 Free Shipping for Plus††
Hitachi 55" Class                                                      Netgear® Nighthawk X6
R-Series 4K UHD                                                        AC3000 Tri-Band                                                                                                                           Royal 12-Sheet Crosscut Shredder
HDR Roku TV**                                                          Wi-Fi Gigabit Router                                                                                                                      This powerful crosscut shredder is perfect for your
Model: 55R82                                                           #980214558                                                                                                                                home or office. Shreds staples and credit cards.
#980048510                                                                                                                                                                                                       5-gallon capacity pull-out wastebasket.
                                                                                                                                                                                                                 #795196



                                            UHD
                                   55"                HDR
                                             4K



$   50 OFF
No limit
                                                                       $   40 OFF
                                                                       No limit
While supplies last                                                    While supplies last
Free Shipping for Plus††                                               Free Shipping for Plus††

Select Q-Series Samsung                                                Ion Audio Total
Soundbars                                                              PA Ultra
Valid on Samsung Q7 3.1.2 Dolby                                        #980178847
Atmos Soundbar and Samsung
Q6 5.1 Panoramic Soundbar.
#980197619, #980197615




16     Find more at SamsClub.com                                                                                                                                                        Valid January 29—February 23                                 February 2020             17
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                                         E XC L U S I V E LY AT                                                                                                                            S A M S C L U B .C O M
$   200 OFF                                                                   $   100 OFF                                                              SAVE UP TO                                                          $   1000 OFF               Regular Price         2699
                                                                                                                                                                                                                                                                        $



                                                                                                                                                          100
                                                                                                                                                                                                                                                      Instant Savings   $   1000
No limit                                                                      Limit of 5
                                                                                                                                                      $                                                                    No limit
While supplies last                                                           Online Only†                                                                                                                                 While supplies last                 Now      1699
                                                                                                                                                                                                                                                                        $
                                                                                                                                                      No limit
Online Only†                                                                  Free Shipping for Plus††                                                While supplies last                                                  Online Only†
Free Shipping for Plus††                                                                                                                              Online Only†                                                         Free Shipping††
                                                                              Arlo Pro 2 Wire-Free HD                                                 Free Shipping††
LG 86" Class                                                                                                                                                                                                               Carrington 6-Piece
8-Series 4K UHD                                                               Security Camera, 3-Pack                                                 Zinus Night Therapy 8/10"                                            Sectional Sofa
                                                                              1080p HD monitoring, with                                               Pressure Relief and 12/13"                                           Features 3 reclining
HDR Smart TV**
                                                                              sound and advanced                                                      Gel-Infused Memory Foam                                              chairs, leather gel
Model:86UM8070AUB/PUA
                                                                              motion detection.                                                                                                                            upholstery, cupholder
#980197815                                                                                                                                            Mattress Set
                                                                              #980228437                                                              Set includes bifold box spring,                                      and storage console.
              UHD                                                                                                                                     smartbase foundation or                                              #644339
    86"                    HDR                                                                                                                        platform bed. Twin to king sizes.
               4K


                                          Regular Price             $  849                                           Regular Price          $   749                                       Regular Price     $   29998                                 Regular Price         1299
                                                                                                                                                                                                                                                                            $

$   150 OFF                               Instant Savings              150
                                                                       $      $   150 OFF                            Instant Savings            150
                                                                                                                                                $     $   50 OFF                          Instant Savings       $5000      $   400 OFF                Instant Savings       $400


Limit of 2                                              Now        $ 699      Limit of 2                                          Now       599
                                                                                                                                            $         No limit                                      Now     24998
                                                                                                                                                                                                            $              No limit                            Now          $   899
Online Only†                                                                  Online Only†                                                            While supplies last                                                  While supplies last
Free Shipping for Plus††                                                      Free Shipping for Plus††                                                Online Only†                                                         Online Only†
                                                                    RAM                                                                               Free Shipping††                                                      Free Shipping††
                                                                    8GB                                                                     RAM
HP® Pavilion 15.6"                                                            HP® 15.6" Full HD                                             8GB

HD x360 Convertible                                                           Laptop with Intel®                                                      Total Gym XL7 Home Gym                                               ProForm® Power
                                                                    SSD
Touchscreen Laptop                                                 512GB      Core™ i7 Processor                                         SSD          with workout DVDs                                                    1295i Treadmill
                                                                                                                                        256GB
with Intel® Core™                                                             Features Accidental                                                     The versatility of a gym in
                                                                                                                                                      the comfort of your home.                                            #980142894
i7 Processor                                                        2 YR      Damage Protection.
                                                                  Care Pack                                                               2 YR
Features Accidental                                                           #980225244                                                Care Pack     #848200
Damage Protection.
#980225996


                                                                                                                                                                                          Regular Price         $   3999                              Regular Price         1499
    100 OFF                                                                       2 OFF                                                                   1000 OFF                                                             300 OFF
                                                                                                                                                                                                                                                                            $

$                                                                             $                                                                       $                                   Instant Savings       $   1000   $                          Instant Savings       $300

Limit of 5                                                                    No limit                                                                No limit                                      Now     $   2999       No limit                            Now      $   1199
Online Only†                                                                  While supplies last                                                     While supplies last                                                  While supplies last
Free Shipping††                                                               Online Only†                                                            Online Only†                                                         Online Only†
                                                                              Free Shipping ††                                                        Shipping Included††                                                  Free Shipping††
Lexmark MC3224dwe
Color Laser Printer                                                           Member’s Mark™ Bright                                                   Lifesmart LS600DX                                                    Devonshire Playset
Print, copy and scan                                                          White Copy Paper                                                        7-Person 65-Jet Spa                                                  #980196983
functions. Integrated                                                         8 ream case: 8.5" x 11"                                                 Customizable lighting,
duplex printing. 2.8"                                                         20 lb., 96 Bright.                                                      pressure and waterfall.
LCD touch screen.                                                                                                                                     Includes cover.
                                                                              #825965
Ethernet network and                                                                                                                                  #980055160
wireless connectivity.
#980232383



    460 OFF                                                                       700 OFF
                                                                                                                                                                                          Regular Price         1499
                                                                                                                                                          300 OFF                                                              175 OFF
                                                                                                                                                                                                                $
$                                                                             $                                                                       $                                   Instant Savings       $300       $
No limit                                                                      No limit                                                                No limit                                     Now      $   1199       No limit
While supplies last                                                           While supplies last                                                     While supplies last                                                  While supplies last
Online Only†                                                                  Online Only†                                                            Online Only†                                                         Online Only†
Delivery, parts, basic                                                        Delivery, installation                                                  Free Shipping††
installation, and haul-away                                                   and haul-away included
included where available4                                                     where available4                                                        NewAge Products                                                      All Maxx Ice
                                                                                                                                                      Bold 3.0 7-Piece Set                                                 Machines
Samsung Side-by-Side                                                          LG 28-cu.-ft. Ultra Large                                               This compact set does
Laundry Pair in White                                                         Capacity 3-Door French Door                                             the heavy lifting in garage
#980194690, #980194692                                                        Refrigerator, Stainless Steel                                           reorganization—up to 3,000
                                                                              #980066488                                                              pounds of storage—and can
                                                                                                                                                      expand as your needs grow.
4Shipping not available in AK or HI and restricted in                         4Shipping not available in AK or HI and restricted in
                                                                                                                                                      #980097664, #980097665
some zip codes within the contiguous U.S.                                     some zip codes within the contiguous U.S.




                                                                                                                                                      20% OFF                                                                  6 OFF
                                       Regular Price              1949                                                Regular Price         19998
    350 OFF                                                                       40 OFF
                                                              $                                                                         $
$                                      Instant Savings            $350        $                                       Instant Savings       $4000                                                                          $
No limit                                            Now       1599
                                                              $               No limit                                            Now   15998
                                                                                                                                        $             No limit                                                             Limit of 5
While supplies last                                                           While supplies last                                                     While supplies last                                                  Online Only†
Online Only†                                                                  Online Only†                                                            Online Only†                                                         Free Shipping for Plus††
Free Shipping ††                                                              Free Shipping for Plus††                                                Free Shipping for Plus††
                                                                                                                                                                                                                           McCafé French
Lifetime 15' x 8' Rough                                                       Keter® Premier XL                                                       Evenflo® Travel                                                      Roast K-Cup Pods
Cut™ Dual-Entry Outdoor                                                       41-cu.- ft. Outdoor                                                     Systems, Play                                                        100 ct.
Storage Shed                                                                  Storage Bin                                                             Yards, High Chairs,
Rugged, weather-resistant                                                     Easy-open lid with hydraulic                                            Strollers, Activity
and steel-reinforced for secure                                               pistons and lockable doors.                                             and Gates
and lockable outside storage                                                  55.5" x 32.2" x 48.6".                                                  Various models.
#980187373                                                                    #980232082


18     Find more at SamsClub.com                                                                                                                                                                  Valid January 29—February 23                           February 2020          19
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                     NOW
                                                                                                                                                                                          THE NOW LIST




                                                                                               2
     T HE                                                           L IST
                CURRENT OBSESSIONS + MUST-TRY IDEAS




                                                                                               TAKE IT
                                                                                              OUTSIDE.
                                                                                                Spring is coming.
                                                                                                   Get the kids
                                                                                                 motivated to do
                                                                                                backflips outdoors
                                                                                                 (and not off your
                                                                                              living room furniture)
                                                                                                  with outfits that
                                                                                                  are equal parts




1
                                                                                                comfy and playful.

                                                                                              $498
                                                                                              Select Children’s Apparel

                                                                                              Member’s Mark™
                                                                                              Girl’s Active Top
                                                                                              Sizes 4-16. Active Girl’s top in
                                                                                              various colors and prints.
                                                                                              Member’s Mark™
                                                                                              Girl’s Active Bottom
                                                                                              Sizes 4-16. Active Girl’s
                                                                                              skirts and shorts in various
                                                                                              colors and patterns.
                                                                                              Champion Boy’s Top
                                                                            $3 OFF            Sizes 5-20. Active tops with
                                                                     Member’s Mark™ Extra     Champion branded graphics.
                                                                      Strength 100% Pure      Champion Boy’s Bottom
                                                                       Omega-3 Krill Oil^
HEART
                                                                                              Sizes 5-20. Champion
                                                                      Sustainably harvested   branded athletic shorts.
                                                                         and rigorously

YOUR HEART.                                                            regulated. No fishy
                                                                            aftertaste.
                                                                                              2-packs also available on
                                                                                              SamsClub.com.
Astaxanthin: It may be hard
to say, but this antioxidant is
oh-so-easy to make part of
your health regimen thanks                                                                                                        HERE COMES THE BLOOM.
to these omega-3-packed                                                                                                            Ready-for-planting bulbs and easy-care, fast-growing
krill oil capsules. And as for                                                                                                   perennials that re-bloom every year make for a low-effort,
that aspirin-a-day advice:                                                                                                         high-impact garden—a.k.a. the best kind of garden.
We’ve got you (and your
                                                                                                                                               $1498 Assorted Spring Dormant Bulbs
ticker) covered.                                                                                                                             Perennials for both sun and shade. In club only.



                    $3 OFF
                    Bayer Aspirin^
                    Low dose, 81mg
                    easy-to-swallow
                    tablets. Safety coated.




20   Find more at SamsClub.com                                                                                                                                                                  February 2020   21
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THE NOW LIST                                                                                                                                                   THE NOW LIST




                                                                                                                                   5FRESH-PICKED TECH.
                                                                                                                                    From take-’em-everywhere AirPods to
                                                                                                                                    light-as-air iPads and the latest Apple
                                                                                                                                    Watch, it’s time to give your portable
                                                                                                                                    tech an affordable upgrade.

                                                                                                                                                $39998
                                                                                                                                                iPad 128GB 7th generation
                                                                                                                                                32GB capacity available online for $319.98.
                                                                                                                                                #980232142
                                                                                                                                                $48498
                                                                                                                                                Watch Series 5 40mm GPS+Cellular
                                                                                                                                                #980232131
                                                                                                                                                $23498
                                                                                                                                                AirPods Pro with wireless charging case
                                                                                                                                                #980243289

                                                                                                                                                All of the above available at
                                                                                                                                                SamsClub.com and in select clubs.




                                                                                              6             JUST PRESS PAWS.
                                                                                                            Memory foam. A premium, water-resistant
                                                                                                            cover. For less than $20? Woof! (Your pup
                                                                                                            will take one for every room in the house.)




                                                                                                                                                   $1998
                                                                                                                                                Member’s
                                                                                                                                               Mark™ Indoor




4
                                                                                                                                               and Outdoor
                                                                                                                                                 Pet Bed

                                                                                   $2498
                                                                        Totes Women’s
                                                                       Ankle Rain Boot
                                                                         Lightweight and
                                                                            scratch-proof.
                                                                     Available in multiple
                                                                        colors. Selection
                                                                     may vary by club and
                                                                      on SamsClub.com.
                                                                           Free Shipping
S AVE YOUR SOLES.                                                                for Plus††

And socks. And really, your whole outfit,
with cute scuff-proof, ultra-light ankle boots
that keep the rain out and your style intact.                black   mineral       navy        TIP: keep your pooch healthy—and your wallet happy—with
                                                                                               savings on top pet meds from the Sam's Club Pharmacy.


22   Find more at SamsClub.com                                                                                                                                    February 2020        23
                                                                                                       8
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                                                                                                                                                                                         THE NOW LIST




                                                                                                                                IT’S THE LITTLE THINGS.
                                                                                                                                Because sometimes, one small step
                                                                                                                                for your beauty routine means one




7
                                                                                                                                large boost in your mood.
                                                                         $3 OFF                                                                                                                    $1498
                                                                      Happy Baby                                                $2498                                                         Olay Ultimate
                                                             Organic Baby Food Pouches                                          Twila True Nail Polish Gift Set                             Foaming Cleanser
                                                              Made from real organic fruit                                      Set includes four nail lacquers,                                    2 pk.
                                                                                                                                one top coat, one base.                                       4.2 fl. oz. each.
                                                              by real moms, pediatricians
                                                                                                                                Various colors available.                                       Free Shipping
                                                                   and nutritionists.                                                                                                             for Plus††
                                                                 Free Shipping for Plus††                                       Online Only†
                                                                                                                                Free Shipping for Plus††




 EASY
                                                                                                                                                                                                  $2998
 SQUEEZIES.                                                                                                                                                                                  BareMinerals
                                                                                                                                                                                            Makeup Brush Set
 Because tasty nutrition for                                                                                                                                                                    3-piece
                                                                                                                                                                                             synthetic fiber
 little ones belongs in your cup                                                                                                                                                               brush set.
 holder, your glove compartment,                                                                                                                                                                Online Only†
                                                                                                                                                                                                Free Shipping
 your diaper bag or anywhere                                                                                                                                                                      for Plus††
 (and everywhere) else.




                                                                                                       9                                                                           10
                                                                                                                   YOU GOT THIS.
                                                                                                                   And by “this” we mean your taxes,
                                                                                                                   thanks to tax software to help get
                                                                                                                   those returns filed right (and a sleek
                                                                                                                   Samsung monitor to see them in HD).
         $1996                                                                                                                                                                   MAKE
 Member’s Mark™
  Fragrance Free
   Baby Wipes
                                                                                                                                                                              YOUR BEANS
     Free Shipping††                                                                 $3 OFF
                                                                          Gerber Puffs Value Pack
                                                                                                                                                                                COUNT.
                                                                           With iron and vitamin E.                                                                             Peruvian, Honduran and
                                                                          Banana, strawberry apple
                                                                            and blueberry flavor.
                                                                                                                                                                             Colombian beans give Boyer’s
                                                                            Free Shipping for Plus††                                                                          Mash-Up coffee a deep and
                                                                                                                                                                              complex yet lively character.
       $5 OFF
       Pampers
      Swaddlers
     Free Shipping††

                       As a new dad, I know choosing
                       the best baby products can be
                       nerve-racking! We focus on                                                               $17996 $20 OFF | REG. $19996
                       finding unique, best-in-class items                                                    Samsung 32" Full HD Curved Monitor
                       with hypoallergenic or natural                                                  Upgrade your current desktop or connect to your laptop
                                                                                                           with the included HDMI cable. #980006222
        $3 OFF
                       features and sharing them with                                                              Limit of 10 Free Shipping for Plus††
         Dreft         members at amazing prices.”
      Free Shipping                                                                                             $3988 –$11988                                  $174
        for Plus††     Nick Scheidler                                                                        TurboTax Software                              Quickbooks                       $1498
                       Sr. Merchant                                                                        Deluxe, Premier, Home &                            Pro 2020       Boyer’s Mash-Up Whole Bean Coffee
                                                                                                            Business and Business                           Includes free            Exclusive to Sam’s Club.
                                                                                                        Two ways to install—CD or Download                 90-day support.   Specialty-grade organic Arabica coffee.

24    Find more at SamsClub.com                                                                                                                                                              February 2020        25
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VA L E N T I N E ’ S D AY

                                                                                                                        $3998


Every vase’s dream.
                                                                                                                        Ultra-Premium
                                                                                                                        Bouquet



Our eye-catching bouquets are guaranteed to stay fresh for 7 days.



     $1598
     Valentine’s
     Day Bouquet




     JUST ADD
      WATER.
  Expertly arranged                                                            100% of our roses come
  by floral designers                                                          from Ecuador. Why?
   and sent straight                                                           They’re huge! Because
        to you!                                                                they’re grown at the
                                                                               equator, year-round
                                                                               sunshine and high-
                                                                               altitude soil breed
                                                                               big-headed blooms that
                                                                               are easily half an inch
                                                                               bigger than other roses.”
                                                                               Spencer Beck
                                                                               Senior Floral Merchant
                                                                                                                         $3998
                                                                               $1598                                  Ultra-Premium
                                                                               Dozen Roses                               Bouquet
          $2998                                                                12 roses with
      Rose with Vase
       Arrangement                                                             2 stems of greens
                                                                               from Rainforest
                                                                               Alliance Certified
                                                                               farms. 7-day fresh
                                                                               guarantee.




          $1598                                                                                                          $1598
      Valentine’s Day                                                                                                Valentine’s Day
         Bouquet                                                                                                        Bouquet




26   Find more at SamsClub.com                                                                                       February 2020     27
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VA L E N T I N E ’ S D AY




Total
gems.                                                                       $299
                                                                                                  $2,199
                                                                                                  3.0CTTW Diamond
                                                                                                  Bracelet§
                                                                                                  14K White Gold.
                                                                                                  IGI Appraisal Value $3,255.
                                                               .25CTTW Diamond                    #383116,
These top-of-the-line                                             Heart Pendant§                  #652513
                                                                   14K White Gold.
diamonds are designed to                                  IGI Appraisal Value $500.
                                                                     #980066979,
make a major statement,                                              #980145663

at a just-as-stunning value.



                                                                                                                                                                                          $1,764
                                                                                                                                                                             1.50CTTW Diamond
                                                                                                                                                                                         Necklace§
                                                                                                                                                                                   14K White Gold.
                                                                                                                                                                        IGI Appraisal Value $2,585.
                                                                                                                                                                                          #457967,
                                                                                                                                                                                          #855219




                                                                          $4,999
                                                             2.20CTTW Bridal Set§
                                                                    14K White Gold.
                                                         IGI Appraisal Value $7,945.
                                                                #435160, #357250


                                                                            $399
  Members know they can                                                  .50CTTW
                                                               Diamond Earrings§
  find exceptional-quality                                         14K White Gold.
  diamonds at exclusive low                               IGI Appraisal Value $985.
  prices at Sam’s Club. All of                                       #980246464
  our diamonds are certified by                                                        $319                                                                               $1,888
                                                                          $4,999       .20CTTW Diamond                                                        2.0CTTW Diamond
  the International Gemological                                        1.50CTTW         Pendant§                                                                   Hoop Earrings§
  Institute and come with an                                       Diamond Ring§        14K White Gold.                                                            14K White Gold.
  appraisal card listing cut,                                18K White Gold, I-VS2.     IGI Appraisal Value $595.                                       IGI Appraisal Value $2,635.
                                                                IGI Appraisal Value     #980058117,                                                                       #441430,
  color, clarity and carat weight.                                         $6,485.      #980225483                                                                         #23645
  This added benefit helps our                                       #980207270
  members truly see the value                                        Online Only†
  they are getting.”
                                                                                       §Carat weight and carat total weight are approximate and may vary by 0.05 carat. Jewelry items may be
  Rebekah Howe                                                                         enlarged to show beauty of detail. Appraisal value provided by International Gemological Institute.
  Merchant                                                                             Sam’s Club offers diamond quality I1-HI or higher.


28   Find more at SamsClub.com                                                                                                                                                 February 2020    29
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                                                                                                                                                VA L E N T I N E ’ S D AY

                                                                                     $1698 Member’s Mark™ 10" Chocolate Dessert Cake
                                                                                     Chocolate buttercream icing and chocolate curls.




                                                                                                                                          SUGAR, CUBED.
                                                                                                                                        Spoil ‘em good with gifts that
                                                                                                                                         say, “No, I love you more.”


            $998
          GOURMET
           DIPPED
      STRAWBERRIES
     12 fresh strawberries
 hand-dipped and packed in
  club. Available for Special
   Order Feb. 1–14, 2020.
      In Club Feb. 12–14,
             2020.

                                                                                                                                                          $2998
                                                                                                                                                Valentine Lindt Gift Tower
                                                                                                                                        Variety of truffles and chocolates included.
                                                                                                                                                       Online Only†
                                                                                                                                                  Free Shipping for Plus††




                                                                                                                                                          $3098
                                                                                                                                               Godiva Wishes Gift Basket




                                Sweet
                                                                                                                                                 Includes assortment of
                                                                                                                                                   Godiva chocolates.
                                                                                                                                                       Online Only†
                                                                                                                                                  Free Shipping for Plus††




                                talkers.
                      For those whose love language involves
                       all things frosted, dipped and layered
                        with chocolate, treats that say it all.
                                                                                                                                                          $3098
                                                                                                                                          Sweets for My Valentine Gift Basket
                                                                                                                                              Variety of sweets included.
                                                                                                                                                       Online Only†
                                                                                                                                                  Free Shipping for Plus††
                                                                                     $1498
                                                                                     30 ct. cupcakes
                                                                                     Made fresh in-club. Ready to eat.



30   Find more at SamsClub.com                                                                                                                              February 2020        31
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VA L E N T I N E ’ S D AY




                                                                                                      TURF,
                                                                                                    MEET SURF.
                                                                                                 The finest cuts & catches at
                                                                                                seriously good prices? That’s
                                                                                                 what we call couple goals.




                                                                                                                                         FROZEN
                                                                                                                                   LOBSTER TAILS
                                                                                                                                 Premium wild-caught
                                                                                                                                tails from the Bahamas.
                                                                                                                                      Check club for
                                                                                                                                       low member
                                                                                                                                           price.

                                                           PRIME
                                                       TENDERLOINS
                                                         With extra fat
                                                    marbling for great flavor.
                                                      Check club for low
                                                        member price.




      Cupid who?
              Sometimes the best night out is a night in.
            With prime tenderloin and buttery lobster tails,
                       consider the mood set.


32   Find more at SamsClub.com                                                                                                                      February 2020   33
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G A M E D AY                                                                                                                                G A M E D AY




                     In it for
                    the food.
  Smoky ribs. Spicy Buffalo dip. Flatbread smothered in bacon
    and cheese. That’s our idea of the ultimate fantasy team.

                                                                                                                            $798
                                                                                                                        MEMBER’S
                                                                                                                           MARK ™
                                                                                                                         BUFFALO
                                                                                                                      CHICKEN DIP
                                                                                                                     All white meat, real
                                                                                                                     cream cheese and
           $1298                                                                                                        a touch of hot
         MEMBER’S                                                                                                           sauce.
       MARK ™ BABY
     BACK PORK RIBS
     Extra-meaty, hickory
      smoked. Brushed
        in sweet, bold
            sauce.




                                                                                          $998
                                                                                       SAVED BY
                                                                                      THE BACON
                                                                                      FLATBREAD
                                                                                    Loaded with cured
                                                                                   bacon, mozzarella and
                                                                                   cheddar. Topped with
                                                                                       cheesy garlic
                                                                                          sauce.




34   Find more at SamsClub.com                                                                                                       February 2020   35
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G XAXMXEX XDXAXYX X X X X
X                                                                                                                                                                                  G A M E D AY

                                                                                                                              THE MOST DEF.
GUAC IS NOT EXTRA.                                                                                        A crystal-clear picture means you won’t miss a thing—from
New Member’s Mark Guacamole contains
                       ™                                                                                first down to touchdown (and every commercial in between).
9 hand-scooped avocados, and has no
artificial flavors, colors, or preservatives.
Better still? You’ll save up to $5¶ vs. the
competition. Holy…you get the idea.




                                                                                                                   Samsung 65" Class Q6-Series QLED 4K UHD HDR Smart TV**
                                                                                                                                  Model: QN65Q6DRAFXZA
                                                                                                                           See Members Only price at SamsClub.com.




                                                                                                   YOU’VE GOT
                                                                                                (GAME-DAY) GAME.
                                                                                                        High-tech Wi-Fi and all-around sound to
                                                                                                         take your Sunday setup to new levels.
                                                                    $598
                                                            Oreo Cookie Popcorn
                                                             Cookies and cream
                                                             drizzled and coated                                                                                                 $259
                                                               popcorn. 20 oz.                                                                                             Google Wifi 3-Pack
                                                                                                                                                                       Replace your old router with
                                                                                                                                                                        Google Mesh Wifi. Place
                                                                                                                                                                     each node around your house for
                                                                                                                                                                           seamless streaming.
                                                                                                                                                                         Free shipping for Plus††

IT’S
CRUNCH
TIME.
Fully loaded with Oreo                                                                          $159
                                                                                        Bose Solo TV Speaker
cookie pieces or ultra-cheesy
                                                                                         Bluetooth Soundbar
Cheetos, all these sweet or                                                             Free shipping for Plus††
savory popcorn snacks need
before diving in is a bowl (if                                      $478
                                                              Cheetos Popcorn
you plan on sharing, that is).                               When popcorn meets
                                                            Cheetos…it’s a Cheetos
36   Find more at SamsClub.com
                                                                 thing! 17 oz.
                                                                                                                                                                               February 2020        37
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Important Notice. Please Read.
New Terms & Conditions for your Membership                                                                                                                                                                                                                           Now members
                                                                                                                                                                                                                                                                       get up to
Thank you for being a Sam’s Club member—we appreciate your
business. We want to let you know that we’ve updated our Terms
                                                                                                                                                                                                                                                                   15   %off
                                                                                                                                                                                                                                                                 Pandora streaming
                                                                                                                                                                                                                                                                                           7


& Conditions (“Terms”) that govern your membership, effective                                                                                                                                                                                                               plans.
February 1, 2020. The changes include a class-action waiver and
mandatory arbitration provision that requires Sam’s Club and all of its
members to use arbitration to resolve any disputes on an individual
basis. By continuing your Sam’s Club membership beyond February
1, 2020, you agree to be bound by the updated Terms. You can
review the full Terms at SamsClub.com/termsandconditions.

We love bringing you truly special items at exceptional
members-only prices. Please visit the Membership Desk at your
local Sam’s Club if you have any questions about this update or
wish to cancel your membership and receive a full refund.




*Instant Savings offers are subject to availability and are valid in U.S. clubs with a U.S. membership, excluding Puerto Rico. Prices shown
are pre-tax amounts. State and local laws may require sales tax to be charged on the pre-discounted price. For Club Pickup orders not paid
online, savings will be based on and limited to the Instant Savings offers available to the paying member on the date of in-club payment.
No money will be returned to the member if the price of the item falls below zero after applying Instant Savings discount. If more than one
Instant Savings offer is available for an item, the highest-value discount will be applied. Multiple offers will not be combined for any item.
Visit SamsClub.com/termsandconditions or see a Club Associate for additional details. Offers valid valid Jan. 29, 2020–Feb. 23, 2020.
**Additional fees apply in CA per the California Electronic Waste Recycling Act. Diagonal screen sizes may vary 0.5 inch or less in class size.
†   Online availability may vary.
††Free Shipping means free shipping to all members in contiguous U.S. and Plus Members in AK and HI; discounted shipping applies
to Club members in AK and HI. Free Shipping for Plus†† means free ground shipping to U.S. Plus members. Shipping is not available to
Guam, PR, USVI, PO Boxes and Military AP/FPO addresses. Free shipping is available for online items only. Free shipping does not include




                                                                                                                                                            New perk alert!
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^   Applies to OTC items only. Does not apply pursuant to a prescription or insurance at the pharmacy.
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uct category. For example, the Retail Price for hotels is generally the hotel’s rack rate. The Retail Price for an event or show is generally the
single ticket gate price. Ticket and Event prices include product-specific taxes and fees. Hotel and Rental Car prices do not include taxes


                                                                                                                                                          Members-only Pandora savings.
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